                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                        Plaintiff,

        v.
                                                                Case No. 13-CR-135
MARK S. PARKS,

                        Defendants.


             ORDER GRANTING REQUEST TO ADJOURN SENTENCING [174]


        Defendant Mark Parks through his counsel, Brian Mullins, has filed a letter request to

postpone his sentencing until after the jury trial of the co-defendants. Counsel indicates that the

Court is likely to have a better idea of the underlying facts and be in a better position to resolve the

factual disputes concerning sentencing of his client. Counsel for the government does not take a

position. Having considered the complexity of the case and the arguments of counsel, the Court

concludes that the motion should be granted. The Clerk is instructed to reschedule sentencing to

a date after the jury trial currently scheduled for the co-defendants.

        SO ORDERED this              29th     day of September, 2014.



                                               s/ William C. Griesbach
                                               William C. Griesbach, Chief Judge
                                               United States District Court




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